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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 ROBERT C. COURLEY,                               §
     Plaintiff,                                   §
                                                  §
                                                  §
                                                  §
 v.                                               §      Civil Action No. 5:22-cv-00418-OLG
                                                  §
                                                  §
                                                  §
 WILMINGTON SAVINGS FUND                          §
 SOCIETY, FSB, AS TRUSTEE OF                      §
 JUNIPER MORTGAGE LOAN TRUST
 A,
      Defendant,


                                 JOINT STIPULATION OF DISMISSAL

         Plaintiff ROBERT C. COURLEY (“Plaintiff”) and Defendant WILMINGTON SAVINGS

FUND SOCIETY, FSB, AS TRUSTEE OF JUNIPER MORTGAGE LOAN TRUST A, its

successors and assigns (“Defendant”) (“collectively the “Parties”), by and through their

undersigned counsel, hereby stipulate and agree that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), all claims and causes of action asserted or could have been asserted by Plaintiff

against Defendants are hereby dismissed with prejudice, pursuant to the Parties’ agreement.




Joint Stipulation of Dismissal                                                          Page 1 of 3
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                                            Respectfully submitted,

                                            HOLLAND & KNIGHT LLP


                                            /s/ George Robertson
                                            George Robertson
                                            State Bar No. 24106352
                                            WDTX No. 3366420
                                            811 Main Street, Suite 2500
                                            Houston, TX 77002-5227
                                            713-821-7000 (telephone)
                                            713-821-7001 (facsimile)
                                            george.robertson@hklaw.com
                                            ATTORNEYS FOR DEFENDANT


                                            /s/    James Minerve
                                            James Minerve
                                            State Bar No. 24008692
                                            The Minerve Law Firm
                                            13276 N. Highway 183, Ste. 209
                                            Austin, Texas 78750
                                            (888) 819-1440 – Telephone
                                            (888) 230-6397 – Facsimile
                                            jgm@minervelaw.com
                                            ATTORNEY FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of June 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA E-Service:

jgm@minervelaw.com
James Minerve
State Bar No. 24008692
13276 N HWY 183, ste. 209
Austin, Texas 78750
(888) 819-1440 (Office)
(210) 336-5867 (Mobile)
(888) 230-6397 (Fax)
jgm@minervelaw.com
Attorney for Plaintiff

HOLLAND & KNIGHT, LLP
george.robertson@hklaw.com
George Robertson
State Bar No. 24106352
WDTX No. 3366420
811 Main Street, Suite 2500
Houston, TX 77002-5227
713-821-7000 (telephone)
713-821-7001 (facsimile)
ATTORNEY FOR DEFENDANT


                                                        /s/ James Minerve




Joint Stipulation of Dismissal                                                              Page 3 of 3
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